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4                                   UNITED STATES DISTRICT COURT

5                             FOR THE EASTERN DISTRICT OF CALIFORNIA

6
      UNITED STATES OF AMERICA,                               1:18-cr-00252-LJO-SKO
7
                                Plaintiff,                    SCHEDULING ORDER
8
                         v.
9
      DIBLAIM ALAN VALDEZ-ARAUX, et al.,
10

11                              Defendants.
12

13
            On February 11, 2019, the Court held a long-term scheduling conference in the above-captioned
14
     case as to Defendants Diblaim Alan Valdez-Araux, Erick Lizarraga, Perla Ramos, Brittany Martinez,
15
     Rosemarie Martinez, David Martinez, and Jesus Bueno. Defense counsel Yan Shrayberman, David
16
     Torres, Peter Jones, Tony Capozzi, Dale Blickenstaff, Monica Bermudez, and Robert Lamanuzzi
17 appeared on behalf of their respective clients. Noyra Gonzalez Bramasco and Maricela Castellanos did

18 not appear as there are currently warrants outstanding for their arrests. Laurel Montoya appeared on

19 behalf of the Government.

20          The Court made a determination that this case is a complex case within the meaning of 18 U.S.C.

     § 3161(h)(7)(B)(ii), and that time is to be excluded under the Speedy Trial Act, as good cause exists and
21
     the ends of justice outweigh the interest of the defendants and the public in a speedy trial. See Bloate v.
22
     United States, 559 U.S. 196, 210 (2010). Pursuant to discussions with counsel at the scheduling
23
     conference, the Court ORDERS that this case proceed as follows:
24      1. Discovery
25          The parties shall provide all discovery by no later than May 13, 2019.
                                                          1
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         2. Plea Offers
2            The Government will make plea offers for all defendants in this case by July 31, 2019. Plea

3    offers will expire September 9, 2019.

4        3. Motions

             All motions must be filed on or before September 30, 2019. Responses must be filed on or
5
     before October 28, 2019. A hearing on any motions filed is set for Monday, November 18, 2019 at
6
     1:30 pm in Courtroom 4 before Chief Judge Lawrence J. O’Neill.
7
         4. Pretrial Conference
8            The parties shall appear for a pretrial conference on Monday, December 9, 2019 at 1:30 pm in
9    Courtroom 4 before Chief Judge Lawrence J. O’Neill.

10       5. Trial Date

11           The trial is set to begin on Tuesday, January 7, 2020 at 8:30 am in Courtroom 4 before Chief

     Judge Lawrence J. O’Neill. This date, due to the enormous task of obtaining non-conflicting dates from
12
     all counsel, coupled with how much time all parties are being given to get the discovery and trial
13
     preparation completed, will NOT BE CHANGED. Any conflict that arises for the now-set trial date in
14
     this case will be a conflict in the OTHER case (State or Federal), and not this case. This includes the
15 understanding that counsel are to advise any other judge from any other court as soon as a possible

16 conflict arises of the specific special setting of this case. If there is push back from the other court,

17 counsel are required to notify this Court of the problem immediately, and this Court will make
     appropriate court-to-court contacts. Counsel need not to agree to the setting of any case that has a start
18
     date before this January 7, 2020 trial date that has the potential of interfering with the start of this trial.
19

20 IT IS SO ORDERED.

21       Dated:     March 19, 2019                               /s/ Lawrence J. O’Neill _____
                                                     UNITED STATES CHIEF DISTRICT JUDGE
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